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                                                                                2019 May-16 PM 04:39
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
           IN AND FOR THE NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION

LARRY PONZINI,                               )
                                             )
                Plaintiff,                   )
                                             )
v.                                           )    Civil Action No.:
                                             )
MONSANTO COMPANY                             )
CORPORATION and                              )
BAYER U.S., LLC.                             )
                                             )
                Defendants.                  )
                                             )

                                  COMPLAINT

      COMES NOW Larry Ponzini, Plaintiff in the above-styled action, files his

Complaint against Defendants Monsanto Company Corporation (“Monsanto”) and

Bayer U.S., LLC. (“Bayer”) and, in support thereof, states as follows:

                                  BACKGROUND

      1.       In 1970, Defendant Monsanto Company Corporation discovered the

herbicidal properties of glyphosate and began marketing it in products in 1974 under

the brand name Roundup®. Roundup® is a non-selective herbicide used to kill

weeds that commonly compete with the growing of crops. By 2001, glyphosate had

become the most-used active ingredient in American agriculture with 85–90 millions



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of pounds used annually. That number grew to 185 million pounds by 2007. As of

2013, glyphosate was the world’s most widely used herbicide.

      2.       Monsanto is a multinational agricultural biotechnology corporation

based in St. Louis, Missouri. It is the world's leading producer of glyphosate. As of

2009, Monsanto was the world’s leading producer of seeds, accounting for 27% of

the world seed market. The majority of these seeds are of the Roundup Ready®

brand. The stated advantage of Roundup Ready® crops is that they substantially

improve a farmer’s ability to control weeds, since glyphosate can be sprayed in the

fields during the growing season without harming their crops. In 2010, an estimated

70% of corn and cotton, and 90% of soybean fields in the United States were

Roundup Ready®.

      3.       Monsanto’s glyphosate products are registered in 130 countries and

approved for use on over 100 different crops. They are ubiquitous in the

environment. Numerous studies confirm that glyphosate is found in rivers, streams,

and groundwater in agricultural areas where Roundup® is used. It has been found in

food, in the urine of agricultural workers, and even in the urine of urban dwellers

who are not in direct contact with glyphosate.

      4.       On March 20, 2015, the International Agency for Research on Cancer

(“IARC”), an agency of the World Health Organization (“WHO”), issued an

evaluation of several herbicides, including glyphosate. That evaluation was based,


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in part, on studies of exposures to glyphosate in several countries around the world,

and it traces the health implications from exposure to glyphosate since 2001.

      5.       On July 29, 2015, IARC issued a formal monograph relating to

glyphosate. In that monograph, the IARC Working Group provides a thorough

review of the numerous studies and data relating to glyphosate exposure in humans.

      6.       The IARC Working Group classified glyphosate as a Group 2A

herbicide, which means that it is probably carcinogenic to humans. The IARC

Working Group concluded that the cancers most associated with glyphosate

exposure are non-Hodgkin lymphoma and other haematopoietic cancers, including

lymphocytic lymphoma/chronic lymphocytic leukemia, B-cell lymphoma, and

multiple myeloma.

      7.       The IARC evaluation is significant. It confirms what has been believed

for years: that glyphosate is toxic to humans.

      8.       Nevertheless, Monsanto, since it began selling Roundup®, has

represented it as safe to humans and the environment. Indeed, Monsanto has

repeatedly proclaimed and continues to proclaim to the world, and particularly to

United States consumers, that glyphosate-based herbicides, including Roundup®,

create no unreasonable risks to human health or to the environment.

      9.       In June, 2016, Monsanto agreed to be acquired by Bayer for $66 billion;

this acquisition was completed in 2018.


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       10.    In June, 2018, Plaintiff was diagnosed with non-Hodgkin lymphoma

after using Roundup® for fifteen (15) years.

                                JURISDICTION & VENUE

       11.    Federal diversity jurisdiction in this Court is proper under 28 U.S.C. §

1332 because Parties are citizens of a different states and the aggregate amount in

controversy exceeds $75,000, exclusive of interest and costs.

       12.    This Court has personal jurisdiction over Monsanto & Bayer, U.S.,

LLC. under C.C.P. § 410, because Defendants know or should have known that their

Roundup® products are sold throughout the State of Alabama.

       13.    Defendants maintain sufficient contacts with the State of Alabama such

that this Court’s exercise of personal jurisdiction over it does not offend traditional

notions of fair play and substantial justice. Additionally, Defendants caused the

Plaintiff’s tortious injury by acts and omissions in this judicial district and caused

tortious injury in this district by acts and omissions outside this district while

regularly doing and soliciting business, engaging in a persistent course of conduct,

and deriving substantial revenue from goods used or consumed and services

rendered in this judicial district.

       14.    Venue is proper within this District under 28 U.S.C. § 1391 because a

substantial part of the events or omissions giving rise to this claim occurred within

this judicial District.
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                                     THE PARTIES

      15.    Plaintiff Larry Ponzini is above the age of nineteen (19) and is a resident

of the State of Alabama.

      16.    Defendant Monsanto Company Corporation (“Monsanto”) is a foreign

corporation doing business by registered agent in the State of Alabama.

      17.    Defendant Bayer U.S., LLC. (“Bayer”) is a foreign corporation doing

business by registered agent in the State of Alabama.

                               FACTUAL ALLEGATIONS

      18.    Glyphosate is a broad-spectrum, non-selective herbicide used in a wide

variety of herbicidal products around the world.

      19.    Plants treated with glyphosate translocate the systemic herbicide to

their roots, shoot regions and fruit, where it interferes with the plant’s ability to form

aromatic amino acids necessary for protein synthesis. Treated plants generally die

within two to three days. Because plants absorb glyphosate, it cannot be completely

removed by washing or peeling produce or by milling, baking, or brewing grains.

      20.    For nearly 40 years, farms across the world have used Roundup®

without knowing of the dangers its use poses. That is because when Monsanto first

introduced Roundup®, it touted glyphosate as a technological breakthrough: it could

kill almost every weed without causing harm either to people or to the environment.


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Of course, history has shown that not to be true. According to the WHO, the main

chemical ingredient of Roundup®—glyphosate—is a probable cause of cancer.

Those most at risk are farm workers and other individuals with workplace exposure

to Roundup®, such as workers in garden centers, nurseries, and landscapers.

Agricultural workers are, once again, victims of corporate greed. Monsanto assured

the public that Roundup® was harmless. In order to prove this, Monsanto

championed falsified data and attacked legitimate studies that revealed its dangers.

Monsanto led a prolonged campaign of misinformation to convince government

agencies, farmers and the general population that Roundup® was safe.

The Discovery of Glyphosate and Development of Roundup®

      21.   The herbicidal properties of glyphosate were discovered in 1970 by

Monsanto chemist John Franz. The first glyphosate-based herbicide was introduced

to the market in the mid-1970s under the brand name Roundup®. From the outset,

Monsanto marketed Roundup® as a “safe” general-purpose herbicide for

widespread commercial and consumer use. It still markets Roundup® as safe today.

Registration of Herbicides under Federal Law

      22.   The manufacture, formulation and distribution of herbicides, such as

Roundup®, are regulated under the Federal Insecticide, Fungicide, and Rodenticide

Act (“FIFRA” or “Act”), 7 U.S.C. § 136 et seq. FIFRA requires that all pesticides


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be registered with the Environmental Protection Agency (“EPA” or “Agency”) prior

to their distribution, sale, or use, except as described by the Act. 7 U.S.C. § 136a(a).

      23.    Because pesticides are toxic to plants, animals, and humans, at least to

some degree, the EPA requires as part of the registration process, among other

things, a variety of tests to evaluate the potential for exposure to pesticides, toxicity

to people and other potential non-target organisms, and other adverse effects on the

environment. Registration by the EPA, however, is not an assurance or finding of

safety. The determination the Agency must make in registering or re-registering a

product is not that the product is “safe,” but rather that use of the product in

accordance with its label directions “will not generally cause unreasonable adverse

effects on the environment.” 7 U.S.C. § 136a(c)(5)(D).

      24.    FIFRA defines “unreasonable adverse effects on the environment” to

mean “any unreasonable risk to man or the environment, taking into account the

economic, social, and environmental costs and benefits of the use of any pesticide.”

7 U.S.C. § 136(bb). FIFRA thus requires EPA to make a risk/benefit analysis in

determining whether a registration should be granted or allowed to continue to be

sold in commerce.

      25.    The EPA and the State of Alabama registered Roundup® for

distribution, sale, and manufacture in the United States and the State of Alabama.




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      26.    FIFRA generally requires that the registrant, Monsanto in the case of

Roundup®, conducts the health and safety testing of pesticide products. The EPA

has protocols governing the conduct of tests required for registration and the

laboratory practices that must be followed in conducting these tests. The data

produced by the registrant must be submitted to the EPA for review and evaluation.

The government is not required, nor is it able, however, to perform the product tests

that are required of the manufacturer.

      27.    The evaluation of each pesticide product distributed, sold, or

manufactured is completed at the time the product is initially registered. The data

necessary for registration of a pesticide has changed over time. The EPA is now in

the process of re-evaluating all pesticide products through a Congressionally-

mandated process called “re- registration.” 7 U.S.C. § 136a-1. In order to reevaluate

these pesticides, the EPA is demanding the completion of additional tests and the

submission of data for the EPA’s review and evaluation.

      28.    In the case of glyphosate, and therefore Roundup®, the EPA had

planned on releasing its preliminary risk assessment —in relation to the re-

registration process—no later than July 2015. The EPA completed its review of

glyphosate in early 2015, but it delayed releasing the risk assessment pending further

review in light of the WHO’s health-related findings.




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Scientific Fraud Underlying the Marketing and Sale of Glyphosate/Roundup

      29.    Based on early studies that glyphosate could cause cancer in laboratory

animals, the EPA originally classified glyphosate as possibly carcinogenic to

humans (Group C) in 1985. After pressure from Monsanto, including contrary

studies it provided to the EPA, the EPA changed its classification to evidence of non-

carcinogenicity in humans (Group E) in 1991. In so classifying glyphosate, however,

the EPA made clear that the designation did not mean the chemical does not cause

cancer: “It should be emphasized, however, that designation of an agent in Group E

is based on the available evidence at the time of evaluation and should not be

interpreted as a definitive conclusion that the agent will not be a carcinogen under

any circumstances.”

      30.    On two occasions, the EPA found that the laboratories hired by

Monsanto to test the toxicity of its Roundup® products for registration purposes

committed fraud.

      31.    In the first instance, Monsanto, in seeking initial registration of

Roundup® by EPA, hired Industrial Bio-Test Laboratories (“IBT”) to perform and

evaluate pesticide toxicology studies relating to Roundup®. IBT performed about

30 tests on glyphosate and glyphosate-containing products, including nine of the 15

residue studies needed to register Roundup®.



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      32.    In 1976, the United States Food and Drug Administration (“FDA”)

performed an inspection of Industrial Bio- Test Industries (“IBT”) that revealed

discrepancies between the raw data and the final report relating to the toxicological

impacts of glyphosate. The EPA subsequently audited IBT; it too found the

toxicology studies conducted for the Roundup® herbicide to be invalid. An EPA

reviewer stated, after finding “routine falsification of data” at IBT, that it was “hard

to believe the scientific integrity of the studies when they said they took specimens

of the uterus from male rabbits.”

      33.    Three top executives of IBT were convicted of fraud in 1983.

      34.    In the second incident of data falsification, Monsanto hired Craven

Laboratories in 1991 to perform pesticide and herbicide studies, including for

Roundup®. In that same year, the owner of Craven Laboratories and three of its

employees were indicted, and later convicted, of fraudulent laboratory practices in

the testing of pesticides and herbicides.

      35.    Despite the falsity of the tests that underlie its registration, within a few

years of its launch, Monsanto was marketing Roundup® in 115 countries.

The Importance of Roundup® to Monsanto’s Market Dominance Profits

      36.    The success of Roundup® was key to Monsanto’s continued reputation

and dominance in the marketplace. Largely due to the success of Roundup® sales,

Monsanto’s agriculture division was out-performing its chemicals division’s
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operating income, and that gap increased yearly. But with its patent for glyphosate

expiring in the United States in the year 2000, Monsanto needed a strategy to

maintain its Roundup® market dominance and to ward off impending competition.

      37.    In response, Monsanto began the development and sale of genetically

engineered Roundup Ready® seeds in 1996. Since Roundup Ready® crops are

resistant to glyphosate; farmers can spray Roundup® onto their fields during the

growing season without harming the crop. This allowed Monsanto to expand its

market for Roundup® even further; by 2000, Monsanto’s biotechnology seeds were

planted on more than 80 million acres worldwide and nearly 70% of American

soybeans were planted from Roundup Ready® seeds. It also secured Monsanto’s

dominant share of the glyphosate/Roundup® market through a marketing strategy

that coupled proprietary Roundup Ready® seeds with continued sales of its

Roundup® herbicide.

      38.    Through a three-pronged strategy of increased production, decreased

prices and by coupling with Roundup Ready® seeds, Roundup® became

Monsanto’s most profitable product. In 2000, Roundup® accounted for almost $2.8

billion in sales, outselling other herbicides by a margin of five to one, and accounting

for close to half of Monsanto’s revenue. Today, glyphosate remains one of the

world's largest herbicides by sales volume.




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Monsanto has known for decades that it falsely advertises the safety of Roundup®

      39.   In 1996, the New York Attorney General (“NYAG”) filed a lawsuit

against Monsanto based on its false and misleading advertising of Roundup®

products. Specifically, the lawsuit challenged Monsanto’s general representations

that its spray-on glyphosate-based herbicides, including Roundup®, were “safer

than table salt” and "practically non-toxic" to mammals, birds, and fish. Among

the representations the NYAG found deceptive and misleading about the human and

environmental safety of Roundup® are the following:

            a) Remember that environmentally friendly Roundup herbicide is

                biodegradable. It won't build up in the soil so you can use Roundup

                with confidence along customers' driveways, sidewalks and fences

            b) And remember that Roundup is biodegradable and won't build up

                in the soil. That will give you the environmental confidence you

                need to use Roundup everywhere you've got a weed, brush, edging

                or trimming problem.

            c) Roundup biodegrades into naturally occurring elements. d)

                Remember that versatile Roundup herbicide stays where you put it.

                That means there's no washing or leaching to harm customers'

                shrubs or other desirable vegetation.



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           d) This non-residual herbicide will not wash or leach in the soil. It ...

                stays where you apply it.

           e) You can apply Accord with “ confidence because it will stay where

                you put it” it bonds tightly to soil particles, preventing leaching.

                Then, soon after application, soil microorganisms biodegrade

                Accord into natural products.

           f)   Glyphosate is less toxic to rats than table salt following acute oral

                ingestion.

           g) Glyphosate's safety margin is much greater than required. It has

                over a 1,000-fold safety margin in food and over a 700-fold safety

                margin for workers who manufacture it or use it.

           h) You can feel good about using herbicides by Monsanto. They carry

                a toxicity category rating of 'practically non-toxic' as it pertains to

                mammals, birds and fish.

           i)   “Roundup can be used where kids and pets will play and breaks

                down into natural material.” This ad depicts a person with his head

                in the ground and a pet dog standing in an area which has been

                treated with Roundup.

     40.   On November 19, 1996, Monsanto entered into an Assurance of

Discontinuance with NYAG, in which Monsanto agreed, among other things, “to


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cease and desist from publishing or broadcasting any advertisements [in New York]

that represent, directly or by implication” that:

             a) its glyphosate-containing pesticide products or any component

                  thereof are safe, non-toxic, harmless or free from risk;

             b) its glyphosate-containing pesticide products or any component

                  thereof manufactured, formulated, distributed or sold by Monsanto

                  are biodegradable;

             c) its glyphosate-containing pesticide products or any component

                  thereof stay where they are applied under all circumstances and

                  will not move through the environment by any means;

             d) its glyphosate-containing pesticide products or any component

                  thereof are "good" for the environment or are "known for their

                  environmental characteristics."

             e) glyphosate-containing pesticide products or any component thereof

                  are safer or less toxic than common consumer products other than

                  herbicides;

             f)   its glyphosate-containing products or any component thereof might

                  be classified as "practically non-toxic.”

      41.    Monsanto did not alter its advertising in the same manner in any state

other than New York, and on information and belief still has not done so today.


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       42.    In 2009, France’s highest court ruled that Monsanto had not told the

truth about the safety of Roundup®. The French court affirmed an earlier judgement

that Monsanto had falsely advertised its herbicide Roundup® as “biodegradable”

and that it “left the soil clean.”

Classifications and Assessments of Glyphosate

       43.    The IARC process for the classification of glyphosate followed the

stringent procedures for the evaluation of a chemical agent. Over time, the IARC

Monograph program has reviewed 980 agents. Of those reviewed, it has determined

116 agents to be Group 1 (Known Human Carcinogens); 73 agents to be Group 2A

(Probable Human Carcinogens); 287 agents to be Group 2B (Possible Human

Carcinogens); 503 agents to be Group 3 (Not Classified); and one agent to be

Probably Not Carcinogenic.

       44.    The established procedure for IARC Monograph evaluations is

described in the IARC Programme’s Preamble. Evaluations are performed by panels

of international experts, selected on the basis of their expertise and the absence of

actual or apparent conflicts of interest.

       45.    One year before the Monograph meeting, the meeting is announced and

there is a call both for data and for experts. Eight months before the Monograph

meeting, the Working Group membership is selected and the sections of the

Monograph are developed by the Working Group members. One month prior to the
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Monograph meeting, the call for data is closed and the various draft sections are

distributed among Working Group members for review and comment. Finally, at the

Monograph meeting, the Working Group finalizes review of all literature, evaluates

the evidence in each category, and completes the overall evaluation. Within two

weeks after the Monograph meeting, the summary of the Working Group findings

are published in Lancet Oncology, and within a year after the meeting, the final

Monograph is finalized and published.

      46.    In assessing an agent, the IARC Working Group reviews the following

information: (a) human, experimental, and mechanistic data; (b) all pertinent

epidemiological studies and cancer bioassays; and (c) representative mechanistic

data. The studies must be publicly available and have sufficient detail for meaningful

review, and reviewers cannot be associated with the underlying study.

      47.    In March 2015, IARC reassessed glyphosate. The summary published

in The Lancet Oncology reported that glyphosate is a Group 2A agent and probably

carcinogenic in humans.

      48.    On July 29, 2015, IARC issued its Monograph for glyphosate,

Monograph 112. For Volume 112, the volume that assessed glyphosate, a Working

Group of 17 experts from 11 countries met at IARC from March 3–10, 2015, to

assess the carcinogenicity of certain herbicides, including glyphosate. The March

meeting culminated nearly a one-year review and preparation by the IARC


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Secretariat and the Working Group, including a comprehensive review of the latest

available scientific evidence. According to published procedures, the Working

Group considered “reports that have been published or accepted for publication in

the openly available scientific literature” as well as “data from governmental reports

that are publicly available.”

      49.    The studies considered the following exposure groups: occupational

exposure of farmers and tree nursery workers in the United States, forestry workers

in Canada and Finland and municipal weed-control workers in the United Kingdom;

and para-occupational exposure in farming families.

      50.    Glyphosate was identified as the second-most used household herbicide

in the United States for weed control between 2001 and 2007 and the most heavily

used herbicide in the world in 2012.

      51.    Exposure pathways are identified as air (especially during spraying),

water, and food. Community exposure to glyphosate is widespread and found in soil,

air, surface water, and groundwater, as well as in food.

      52.    The assessment of the IARC Working Group identified several case

control studies of occupational exposure in the United States, Canada, and Sweden.

These studies show a human health concern from agricultural and other work-related

exposure to glyphosate.




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      53.    The IARC Working Group found an increased risk between exposure

to glyphosate and non-Hodgkin lymphoma (“NHL”) and several subtypes of NHL,

and the increased risk persisted after adjustment for other pesticides.

      54.    The IARC Working Group also found that glyphosate caused DNA and

chromosomal damage in human cells. One study in community residents reported

increases in blood markers of chromosomal damage (micronuclei) after glyphosate

formulations were sprayed.

      55.    In male CD-1 mice, glyphosate induced a positive trend in the incidence

of a rare tumor, renal tubule carcinoma. A second study reported a positive trend for

haemangiosarcoma in male mice. Glyphosate increased pancreatic islet-cell

adenoma in male rats in two studies. A glyphosate formulation promoted skin tumors

in an initiation-promotion study in mice.

      56.    The IARC Working Group also noted that glyphosate has been detected

in the urine of agricultural workers, indicating absorption. Soil microbes degrade

glyphosate to aminomethylphosphoric acid (AMPA). Blood AMPA detection after

exposure suggests intestinal microbial metabolism in humans.

      57.    The IARC Working Group further found that glyphosate and

glyphosate formulations induced DNA and chromosomal damage in mammals, and

in human and animal cells in utero.




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      58.    The IARC Working Group also noted genotoxic, hormonal, and

enzymatic effects in mammals exposed to glyphosate. Essentially, glyphosate

inhibits the biosynthesis of aromatic amino acids, which leads to several metabolic

disturbances, including the inhibition of protein and secondary product biosynthesis

and general metabolic disruption.

      59.    The IARC Working Group also reviewed an Agricultural Health Study,

consisting of a prospective cohort of 57,311 licensed pesticide applicators in Iowa

and North Carolina. While this study differed from others in that it was based on a

self-administered questionnaire, the results support an association between

glyphosate exposure and Multiple Myeloma, Hairy Cell Leukemia (HCL), and

Chronic Lymphocytic Leukemia (CLL), in addition to several other cancers.

Other Earlier Findings About Glyphosate’s Dangers to Human Health

      60.    The EPA has a technical fact sheet, as part of its Drinking Water and

Health, National Primary Drinking Water Regulations publication, relating to

glyphosate. This technical fact sheet predates the IARC March 20, 2015, evaluation.

The fact sheet describes the release patterns for glyphosate as follows:

      Release Patterns

      “Glyphosate is released to the environment in its use as a herbicide for

      controlling woody and herbaceous weeds on forestry, right-of-way,


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      cropped and non-cropped sites. These sites may be around water and in

      wetlands.

      It may also be released to the environment during its manufacture,

      formulation, transport, storage, disposal and cleanup, and from spills.

      Since glyphosate is not a listed chemical in the Toxics Release

      Inventory, data on releases during its manufacture and handling are not

      available.

      Occupational workers and home gardeners may be exposed to

      glyphosate by inhalation and dermal contact during spraying, mixing,

      and cleanup. They may also be exposed by touching soil and plants to

      which glyphosate was applied. Occupational exposure may also occur

      during glyphosate's manufacture, transport storage, and disposal.”

      61.   In 1995, the Northwest Coalition for Alternatives to Pesticides reported

that in California, the state with the most comprehensive program for reporting of

pesticide-caused illness, glyphosate was the third most commonly- reported cause

of pesticide illness among agricultural workers.

Recent Worldwide Bans on Roundup®/Glyphosate

      62.   Several countries around the world have instituted bans on the sale of

Roundup® and other glyphosate- containing herbicides, both before and since IARC

first announced its assessment for glyphosate in March 2015, and more countries
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undoubtedly will follow suit in light of the as the dangers of the use of Roundup®

are more widely known. The Netherlands issued a ban on all glyphosate-based

herbicides in April 2014, including Roundup®, which takes effect by the end of

2015. In issuing the ban, the Dutch Parliament member who introduced the

successful legislation stated: “Agricultural pesticides in user-friendly packaging are

sold in abundance to private persons. In garden centers, Roundup® is promoted as

harmless, but unsuspecting customers have no idea what the risks of this product are.

Especially children are sensitive to toxic substances and should therefore not be

exposed to it.”

      63.    The Brazilian Public Prosecutor in the Federal District requested that

the Brazilian Justice Department suspend the use of glyphosate.

      64.    France banned the private sale of Roundup® and glyphosate following

the IARC assessment for Glyphosate.

      65.    Bermuda banned both the private and commercial sale of glyphosates,

including Roundup®. The Bermuda government explained its ban as follows:

“Following a recent scientific study carried out by a leading cancer agency, the

importation of weed spray ‘Roundup’ has been suspended.”

      66.    The Sri Lankan government banned the private and commercial use of

glyphosates, particularly out of concern that Glyphosate has been linked to fatal

kidney disease in agricultural workers.


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      67.     The government of Columbia announced its ban on using Roundup®

and glyphosate to destroy illegal plantations of coca, the raw ingredient for cocaine,

because of the WHO’s finding that glyphosate is probably carcinogenic.

Plaintiff’s Exposure to Roundup®

      68.     Plaintiff Larry Ponzini began using Roundup® extensively around

fifteen (15) years ago.

      69.     Plaintiff used Roundup® numerous times a year at three (3) separate

properties.

      70.     Plaintiff typically applied Roundup® using a pump-sprayer, but also

used a tow-behind sprayer on occasion.

      71.     Plaintiff, unaware of the serious health risks posed by using Roundup®,

and having had any initial concerns assuaged by Defendants’s assertions regarding

Roundup®’s safety, did not use any personal protective equipment while using this

product.

      72.     Plaintiff never saw a health warning label on any container of

Roundup® that he used.

      73.     Plaintiff would often find himself doused with Roundup® after having

applied it on his properties.

      74.     Following this substantial exposure to Roundup®, Mr. Ponzini was

diagnosed, in or around June 2018, with non-Hodgkin lymphoma.
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      75.      As a result of this illness, Mr. Ponzini has undergone (and will continue

to undergo) significant medical and other treatment and has had his life irreversibly

altered.

                                  CAUSES OF ACTION

                                        COUNT I
                         STRICT LIABILITY (DESIGN DEFECT)

      76.      Plaintiff repeats and realleges the allegations contained in paragraphs 1

through 75 above, as if fully set forth herein.

      77.      Plaintiff brings this strict liability claim against Defendants for

defective design.

      78.      At all times relevant to this litigation, Defendants engaged in the

business of testing, developing, designing, manufacturing, marketing, selling,

distributing, and promoting Roundup® products, which are defective and

unreasonably dangerous to consumers, including Plaintiff, thereby placing

Roundup® products into the stream of commerce. These actions were under the

ultimate control and supervision of Defendants. At all times relevant to this

litigation, Defendants designed, researched, developed, manufactured, produced,

tested, assembled, labeled, advertised, promoted, marketed, sold, and distributed the

Roundup® products used by the Plaintiff, as described above.



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       79.    At all times relevant to this litigation, Defendants’ Roundup® products

were manufactured, designed, and labeled in an unsafe, defective, and inherently

dangerous manner that was dangerous for use by or exposure to the public, and, in

particular, the Plaintiff.

       80.    At all times relevant to this litigation, Defendants’ Roundup® products

reached the intended consumers, handlers, and users or other persons coming into

contact with these products in California and throughout the United States, including

Plaintiff, without substantial change in their condition as designed, manufactured,

sold, distributed, labeled, and marketed by Defendants.

       81.    Defendants’ Roundup® products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed

by Defendants were defective in design and formulation in that when they left the

hands of the Defendants’ manufacturers and/or suppliers, they were unreasonably

dangerous and dangerous to an extent beyond that which an ordinary consumer

would contemplate.

       82.    Defendants’ Roundup® products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed

by Defendants were defective in design and formulation in that when they left the

hands of Defendants’ manufacturers and/or suppliers, the foreseeable risks exceeded

the alleged benefits associated with their design and formulation.


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      83.   At all times relevant to this action, Defendants knew or had reason to

know that their Roundup® products were defective and were inherently dangerous

and unsafe when used in the manner instructed and provided by Defendants.

      84.   Therefore, at all times relevant to this litigation, Defendants’

Roundup® products, as researched, tested, developed, designed, licensed,

manufactured, packaged, labeled, distributed, sold and marketed by Defendants

were defective in design and formulation, in one or more of the following ways:

            a) When placed in the stream of commerce, Defendants’ Roundup®

                products were defective in design and formulation, and,

                consequently, dangerous to an extent beyond that which an

                ordinary consumer would contemplate.

            b) When placed in the stream of commerce, Defendants’ Roundup®

                products were unreasonably dangerous in that they were hazardous

                and posed a grave risk of cancer and other serious illnesses when

                used in a reasonably anticipated manner.

            c) When placed in the stream of commerce, Defendants’ Roundup®

                products contained unreasonably dangerous design defects and

                were not reasonably safe when used in a reasonably anticipated or

                intended manner.




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             d) Defendants did not sufficiently test, investigate, or study their

                  Roundup® products and, specifically, the active ingredient

                  glyphosate.

             e) Exposure to Roundup® and glyphosate-containing products

                  presents a risk of harmful side effects that outweigh any potential

                  utility stemming from the use of the herbicide.

             f)   Defendants knew or should have known at the time of marketing

                  their Roundup® products that exposure to Roundup® and

                  specifically, its active ingredient glyphosate, could result in cancer

                  and other severe illnesses and injuries.

             g) Defendants did not conduct adequate post-marketing surveillance

                  of its Roundup® products.

             h) Defendants could have employed safer alternative designs and

                  formulations.

      85.    Plaintiffs were exposed to Defendants’ Roundup® products by

purchasing and using them in his gardens, as described above, without knowledge

of their dangerous characteristics.

      86.    At all times relevant to this litigation, Plaintiff used and/or was exposed

to the use of Defendants’ Roundup® products in an intended or reasonably

foreseeable manner without knowledge of their dangerous characteristics.


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      87.      Plaintiff could not have reasonably discovered the defects and risks

associated with Roundup® or glyphosate- containing products before or at the time

of exposure.

      88.      The harm caused by Defendants’ Roundup® products far outweighed

their benefit, rendering Defendants’ products dangerous to an extent beyond that

which an ordinary consumer would contemplate. Defendants’ Roundup® products

were and are more dangerous than alternative products and Defendants could have

designed their Roundup® products to make them less dangerous. Indeed, at the time

that Defendants designed their Roundup® products, the state of the industry’s

scientific knowledge was such that a less risky design or formulation was attainable.

      89.      At the time Roundup® products left Defendants’ control, there was a

practical, technically feasible and safer alternative design that would have prevented

the harm without substantially impairing the reasonably anticipated or intended

function of Defendants’ herbicides.

      90.      Defendants’ defective design of its Roundup® products was willful,

wanton, fraudulent, malicious, and conducted with reckless disregard for the health

and safety of users of the Roundup® products, including the Plaintiff herein.

      91.      Therefore, as a result of the unreasonably dangerous condition of its

Roundup® products, Defendants are strictly liable to Plaintiff.




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      92.     The defects in Defendants’ Roundup® products were substantial and

contributing factors in causing Plaintiff’s grave injuries, and, but for Defendants’

misconduct and omissions, Plaintiff would not have sustained her injuries.

      93.     Defendants’ conduct, as described above, was reckless. Defendants

risked the lives of consumers and users of their products, including Plaintiff, with

knowledge of the safety problems associated with Roundup® and glyphosate-

containing products, and suppressed this knowledge from the general public.

Defendants made conscious decisions not to redesign, warn or inform the

unsuspecting public. Defendants’ reckless conduct warrants an award of punitive

damages.

      94.     As a direct and proximate result of Defendants placing their defective

Roundup® products into the stream of commerce, Plaintiff has suffered and

continues to suffer serious injuries, and has endured physical pain and discomfort,

as well as economic hardship, including considerable financial expenses for medical

care and treatment. Plaintiff will continue to suffer and incur these expenses in the

future.

      WHEREFORE, Plaintiff respectfully requests that this Court enter judgment

in Plaintiff’s favor for compensatory and punitive damages, together with interest,

costs herein incurred, attorneys’ fees and all such other and further relief as this



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Court deems just and proper. Plaintiff also demands a jury trial on the issues

contained herein.

                                      COUNT II
                      STRICT LIABILITY (FAILURE TO WARN)

      95.    Plaintiff repeats and realleges the allegations contained in paragraph 1

through 75 above, as if fully stated herein.

      96.    Plaintiff brings this strict liability claim against Defendants for failure

to warn.

      97.    At all times relevant to this litigation, Defendants engaged in the

business of testing, developing, designing, manufacturing, marketing, selling,

distributing, and promoting Roundup® products, which are defective and

unreasonably dangerous to consumers, including Plaintiff, because they do not

contain adequate warnings or instructions concerning the dangerous characteristics

of Roundup® and specifically, the active ingredient glyphosate. These actions were

under the ultimate control and supervision of Defendants.

      98.    Defendants researched, developed, designed, tested, manufactured,

inspected, distributed, marketed, promoted, sold, and otherwise released into the

stream of commerce their Roundup® products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including the



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Plaintiff, and therefore had a duty to warn of the risks associated with the use of

Roundup® and glyphosate-containing products.

      99.    At all times relevant to this litigation, Defendants had a duty to properly

test, develop, design, manufacture, inspect, package, market, promote, sell,

distribute, maintain supply, provide proper warnings, and take such steps as

necessary to ensure that its Roundup® products did not cause users and consumers

to suffer from unreasonable and dangerous risks. Defendants had a continuing duty

to warn the Plaintiffs of the dangers associated with Roundup® use and exposure.

Defendants, as manufacturer, seller, or distributor of chemical herbicides is held to

the knowledge of an expert in the field.

      100. At the time of manufacture, Defendants could have provided the

warnings or instructions regarding the full and complete risks of Roundup® and

glyphosate-containing products because they knew or should have known of the

unreasonable risks of harm associated with the use of and/or exposure to such

products.

      101. At all times relevant to this litigation, Defendants failed to investigate,

study, test, or promote the safety or to minimize the dangers to users and consumers

of its product and to those who would foreseeably use or be harmed by Defendants’s

herbicides, including Plaintiffs.




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       102. Despite the fact that Defendants knew or should have known that

Roundup® posed a grave risk of harm, it failed to exercise reasonable care to warn

of the dangerous risks associated with use and exposure. The dangerous propensities

of its products and the carcinogenic characteristics of glyphosate, as described

above, were known to Defendants, or scientifically knowable to Defendants through

appropriate research and testing by known methods, at the time they distributed,

supplied or sold the product, and not known to end users and consumers, such as

Plaintiff.

       103. Defendants knew or should have known that their products created

significant risks of serious bodily harm to consumers, as alleged herein, and

Defendants failed to adequately warn consumers and reasonably foreseeable users

of the risks of exposure to its products. Defendants have wrongfully concealed

information concerning the dangerous nature of Roundup® and its active ingredient

glyphosate, and further made false and/or misleading statements concerning the

safety of Roundup® and glyphosate.

       104. At all times relevant to this litigation, Defendants’ Roundup® products

reached the intended consumers, handlers, and users or other persons coming into

contact with these products in California and throughout the United States, including

Plaintiff, without substantial change in their condition as designed, manufactured,

sold, distributed, and marketed by Defendants.


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      105. Plaintiff was exposed to Defendants’ Roundup® products by

purchasing and using them on his properties, as described above, without knowledge

of their dangerous characteristics.

      106. At all times relevant to this litigation, Plaintiff used and/or was exposed

to the use of Defendants’ Roundup® products in their intended or reasonably

foreseeable manner without knowledge of their dangerous characteristics.

      107. Plaintiff could not have reasonably discovered the defects and risks

associated with Roundup® or glyphosate-containing products prior to or at the time

of Plaintiff’s exposure. Plaintiff relied upon the skill, superior knowledge, and

judgment of Defendants.

      108. Defendants knew or should have known that the minimal warnings

disseminated with its Roundup® products were inadequate, but they failed to

communicate adequate information on the dangers and safe use/exposure and failed

to communicate warnings and instructions that were appropriate and adequate to

render the products safe for their ordinary, intended and reasonably foreseeable uses,

including agricultural and landscaping applications.

      109. The information that Defendants did provide or communicate failed to

contain relevant warnings, hazards, and precautions that would have enabled

individuals such as Plaintiff to utilize the products safely and with adequate

protection. Instead, Defendants disseminated information that was inaccurate, false,


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and misleading and which failed to communicate accurately or adequately the

comparative severity, duration, and extent of the risk of injuries with use of and/or

exposure to Roundup® and glyphosate; continued to aggressively promote the

efficacy of its products, even after it knew or should have known of the unreasonable

risks from use or exposure; and concealed, downplayed, or otherwise suppressed,

through aggressive marketing and promotion, any information or research about the

risks and dangers of exposure to Roundup® and glyphosate.

      110. To this day, Defendants have failed to adequately and accurately warn

of the true risks of Plaintiff’s injuries associated with the use of and exposure to

Roundup® and its active ingredient glyphosate, a probable carcinogen.

      111. As a result of their inadequate warnings, Defendants’ Roundup®

products were defective and unreasonably dangerous when they left the possession

and/or control of Defendants, were distributed by Defendants, and used by Plaintiff.

      112. Defendants are liable to Plaintiff for injuries caused by their negligent

or willful failure, as described above, to provide adequate warnings or other

clinically relevant information and data regarding the appropriate use of its products

and the risks associated with the use of or exposure to Roundup® and glyphosate.

      113. The defects in Defendants’ Roundup® products were substantial and

contributing factors in causing Plaintiff’s injuries, and, but for Defendants’

misconduct and omissions, Plaintiff would not have sustained his injuries.


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      114. Had Defendants provided adequate warnings and instructions and

properly disclosed and disseminated the risks associated with its Roundup®

products, Plaintiff could have avoided the risk of developing injuries as alleged

herein by using alternative herbicides.

      115. As a direct and proximate result of Defendants placing their defective

Roundup® products into the stream of commerce, Plaintiff has suffered and

continues to suffer severe injuries, and has endured physical pain and discomfort, as

well as economic hardship, including considerable financial expenses for medical

care and treatment. Plaintiff will continue to suffer and incur these expenses in the

future.

      WHEREFORE, Plaintiff respectfully requests that this Court enter judgment

in Plaintiff’s favor for compensatory and punitive damages, together with interest,

costs herein incurred, attorneys’ fees and all such other and further relief as this

Court deems just and proper. Plaintiff also demands a jury trial on the issues

contained herein.

                                     COUNT III
                                    NEGLIGENCE

      116. Plaintiff repeats and realleges the allegations contained in paragraphs 1

through 75 above, as if fully stated herein.



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       117. Defendants, directly or indirectly, caused Roundup® products to be

sold, distributed to, packaged, labeled, marketed to, promoted to, and/or used by

Plaintiff.

       118. At all times relevant to this litigation, Defendants had a duty to exercise

reasonable care in the design, research, manufacture, marketing, advertisement,

supply, promotion, packaging, sale, and distribution of their Roundup® products,

including the duty to take all reasonable steps necessary to manufacture, promote,

and/or sell a product that was not unreasonably dangerous to consumers and users

of the product.

       119. At all times relevant to this litigation, Defendants had a duty to exercise

reasonable care in the marketing, advertisement, and sale of their Roundup®

products. Defendants’ duty of care owed to consumers and the general public

included providing accurate, true, and correct information concerning the risks of

using Roundup® and appropriate, complete, and accurate warnings concerning the

potential adverse effects of exposure to Roundup®, and, in particular, its active

ingredient glyphosate.

       120. At all times relevant to this litigation, Defendants knew or, in the

exercise of reasonable care, should have known of the hazards and dangers of

Roundup® and specifically, the carcinogenic properties of the chemical glyphosate.




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      121. Accordingly, at all times relevant to this litigation, Defendants knew or,

in the exercise of reasonable care, should have known that use of or exposure to their

Roundup® products could cause or be associated with Plaintiff’s injuries and thus

created a dangerous and unreasonable risk of injury to the users of these products,

including Plaintiff.

      122. Defendants also knew or, in the exercise of reasonable care, should

have known that users and consumers of Roundup® were unaware of the risks and

the magnitude of the risks associated with use of and/or exposure to Roundup® and

glyphosate-containing products.

      123. As such, Defendants breached their duty of reasonable care and failed

to exercise ordinary care in the design, research, development, manufacture, testing,

marketing, supply, promotion, advertisement, packaging, sale, and distribution of its

Roundup® products, in that Defendants manufactured and produced defective

herbicides containing the chemical glyphosate, knew or had reason to know of the

defects inherent in their products, knew or had reason to know that a user’s or

consumer’s exposure to their products created a significant risk of harm and

unreasonably dangerous side effects, and failed to prevent or adequately warn of

these risks and injuries.

      124. Despite their ability and means to investigate, study, and test their

products and to provide adequate warnings, Defendants has failed to do so. Indeed,


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Defendants has wrongfully concealed information and has further made false and/or

misleading statements concerning the safety and/or exposure to Roundup® and

glyphosate.

      125. Defendants’ negligence included:

         a) Manufacturing,      producing,    promoting,    formulating,    creating,

              developing, designing, selling, and/or distributing their Roundup®

              products without thorough and adequate pre- and post-market testing;

         b) Manufacturing,      producing,    promoting,    formulating,    creating,

              developing, designing, selling, and/or distributing Roundup® while

              negligently and/or intentionally concealing and failing to disclose the

              results of trials, tests, and studies of exposure to glyphosate, and,

              consequently, the risk of serious harm associated with human use of

              and exposure to Roundup®;

         c) Failing to undertake sufficient studies and conduct necessary tests to

              determine whether or not Roundup® products and glyphosate-

              containing products were safe for their intended use in agriculture and

              horticulture;

         d) Failing to use reasonable and prudent care in the design, research,

              manufacture, and development of Roundup® products so as to avoid




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    the risk of serious harm associated with the prevalent use of

    Roundup®/glyphosate as an herbicide;

 e) Failing to design and manufacture Roundup® products so as to ensure

    they were at least as safe and effective as other herbicides on the

    market;

 f) Failing to provide adequate instructions, guidelines, and safety

    precautions to those persons who Defendants could reasonably foresee

    would use and be exposed to its Roundup® products;

 g) Failing to disclose to Plaintiff, users/consumers, and the general public

    that use of and exposure to Roundup® presented severe risks of cancer

    and other grave illnesses;

 h) Failing to warn Plaintiff, consumers, and the general public that the

    product’s risk of harm was unreasonable and that there were safer and

    effective alternative herbicides available to Plaintiff and other

    consumers;

 i) Systematically suppressing or downplaying contrary evidence about

    the risks, incidence, and prevalence of the side effects of Roundup®

    and glyphosate-containing products;




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         j) Representing that their Roundup® products were safe for their intended

             use when, in fact, Defendants knew or should have known that the

             products were not safe for their intended purpose;

         k) Declining to make or propose any changes to Roundup® products’

             promotional materials that would alert the consumers and the general

             public of the risks of Roundup® and glyphosate;

         l) Advertising, marketing, and recommending the use of the Roundup®

             products, while concealing and failing to disclose or warn of the

             dangers known by Defendants to be associated with or caused by the

             use of or exposure to Roundup® and glyphosate;

         m) Continuing to disseminate information to their consumers, which

             indicate or imply that Defendants’s Roundup® products are not unsafe

             for use in the agricultural and horticultural industries; and

         n) Continuing the manufacture and sale of their products with the

             knowledge that the products were unreasonably unsafe and dangerous.

      126. Defendants knew and/or should have known that it was foreseeable that

consumers such as Plaintiff would suffer injuries as a result of Defendants’ failure

to exercise ordinary care in the manufacturing, marketing, labeling, distribution, and

sale of Roundup®.




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      127. Plaintiff did not know the nature and extent of the injuries that could

result from the intended use of and/or exposure to Roundup® or its active ingredient

glyphosate.

      128. Defendants’ negligence was the proximate cause of the injuries, harm,

and economic losses that Plaintiff suffered, and will continue to suffer, as described

herein.

      129. Defendants’ conduct, as described above, was reckless. Defendants

regularly risk the lives of consumers and users of their products, including Plaintiff,

with full knowledge of the dangers of their products. Defendants have made

conscious decisions not to redesign, re-label, warn, or inform the unsuspecting

public, including Plaintiff. Defendants’ reckless conduct therefore warrants an

award of punitive damages.

      130. As a proximate result of Defendants’ wrongful acts and omissions in

placing their defective Roundup® products into the stream of commerce without

adequate warnings of the hazardous and carcinogenic nature of glyphosate, Plaintiff

has suffered and continues to suffer severe and permanent physical and emotional

injuries. Plaintiff has endured pain and suffering, has suffered economic losses

(including significant expenses for medical care and treatment) and will continue to

suffer and incur these expenses in the future.




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      WHEREFORE, Plaintiff respectfully requests that this Court enter judgment

in Plaintiff’s favor for compensatory and punitive damages, together with interest,

costs herein incurred, attorneys’ fees and all such other and further relief as this

Court deems just and proper. Plaintiff also demands a jury trial on the issues

contained herein.

                                      COUNT IV
                         BREACH OF IMPLIED WARRANTIES

      131. Plaintiff repeats and realleges the allegations contained in paragraph 1

through 75 above, as if fully stated herein.

      132. At all times relevant to this litigation, Defendants engaged in the

business of testing, developing, designing, manufacturing, marketing, selling,

distributing, and promoting their Roundup® products, which are defective and

unreasonably dangerous to consumers, including Plaintiff, thereby placing

Roundup® products into the stream of commerce. These actions were under the

ultimate control and supervision of Defendants.

      133. Before the time that Plaintiff was exposed to the use of the

aforementioned Roundup® products, Defendants impliedly warranted to their

consumers—including       Plaintiff—that     their   Roundup®   products   were   of

merchantable quality and safe and fit for the use for which they were intended;

specifically, as horticultural herbicides.

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       134. Defendants, however, failed to disclose that Roundup® has dangerous

propensities when used as intended and that the use of and/or exposure to Roundup®

and glyphosate-containing products carries an increased risk of developing severe

injuries, including Plaintiff’s injuries.

       135. Plaintiff reasonably relied upon the skill, superior knowledge and

judgment of Defendants and upon their implied warranties that the Roundup®

products were of merchantable quality and fit for their intended purpose or use.

       136. Upon information and belief, Plaintiff was at all relevant times in

privity with Defendants.

       137. Plaintiff is the intended third-party beneficiary of implied warranties

made by Defendants to the purchasers of its horticultural herbicides, and as such

Plaintiff is entitled to assert this claim.

       138. The Roundup® products were expected to reach and did in fact reach

consumers and users, including Plaintiff, without substantial change in the condition

in which they were manufactured and sold by Defendants.

       139. At all times relevant to this litigation, Defendants were aware that

consumers and users of their products, including Plaintiff, would use Roundup®

products as marketed by Defendants, which is to say that Plaintiff was a foreseeable

user of Roundup®.




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      140. Defendants intended that their Roundup® products be used in the

manner in which Plaintiff in fact used them and Defendants impliedly warranted

each product to be of merchantable quality, safe, and fit for this use, despite the fact

that Roundup® was not adequately tested or researched.

      141. In reliance upon Defendants’ implied warranty, Plaintiff used

Roundup® as instructed and labeled and in the foreseeable manner intended,

recommended, promoted and marketed by Defendants.

      142. Plaintiff could not have reasonably discovered or known of the risks of

serious injury associated with Roundup® or glyphosate.

      143. Defendants breached their implied warranty to Plaintiff in that their

Roundup® products were not of merchantable quality, safe, or fit for their intended

use, or adequately tested. Roundup® has dangerous propensities when used as

intended and can cause serious injuries, including those injuries complained of

herein.

      144. The harm caused by Defendants’ Roundup® products far outweighed

their benefit, rendering the products more dangerous than an ordinary consumer or

user would expect and more dangerous than alternative products.

      145. As a direct and proximate result of Defendants’ wrongful acts and

omissions Plaintiff has suffered severe and permanent physical and emotional

injuries. Plaintiff has endured pain and suffering, have suffered economic loss


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(including significant expenses for medical care and treatment) and will continue to

suffer and incur these expenses in the future.

      WHEREFORE, Plaintiff respectfully requests that this Court enter judgment

in Plaintiff’s favor for compensatory and punitive damages, together with interest,

costs herein incurred, attorneys’ fees, and all such other and further relief as this

Court deems just and proper. Plaintiff also demands a jury trial on the issues

contained herein.

                                      COUNT V
                        BREACH OF EXPRESS WARRANTIES

      146. Plaintiff repeats and realleges the allegations contained in paragraph 1

through 75 above, as if fully stated herein.

      147. The law imposes a duty on Defendants to be responsible in the event

the product sold, namely Roundup, is fit for the use and purposes intended.

      148. Defendants breached their contractually assumed implied warranty by

supplying a product that caused Mr. Ponzini to suffer from non-Hodgkin lymphoma

and related injuries.

      149. Any warranty disclaimer or limitation of liability clause offered by

Defendants for a product as dangerous as Roundup would be unconscionable and

unenforceable by law.



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         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment

in Plaintiff’s favor for compensatory and punitive damages, together with interest,

costs herein incurred, attorneys’ fees, and all such other and further relief as this

Court deems just and proper. Plaintiff also demands a jury trial on the issues

contained herein.

                                      COUNT VI
                                     WANTONNESS

         150. Plaintiff repeats and realleges the allegations contained in paragraph 1

through 75 above, as if fully stated herein.

         151. At all times material hereto, the Defendants knew or should have

known that the subject product was inherently dangerous with respect to its health

risks.

         152. At all times material hereto, the Defendants attempted to misrepresent,

and did misrepresent facts concerning the safety of the subject product.

         153. Defendants’ misrepresentations included knowingly withholding

material information from the public, including the Plaintiffs herein, concerning the

safety of the subject product.

         154. At all times material hereto, the Defendants knew and recklessly

disregarded the fact that human exposure to Roundup can and does cause health

hazard, including non-Hodgkin lymphoma.

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         155. Notwithstanding the foregoing, the Defendants continued to

aggressively market and apply the subject product without disclosing the aforesaid

risks.

         156. Defendants’ knew of the subject product’s defective and unreasonably

dangerous nature, as set forth herein, but continued to design, develop, manufacture,

market, distribute, sell, and apply it so as to maximize sales and profits at the expense

of the health and safety of the public, including the Plaintiff herein, in conscious

and/or negligent disregard of the foreseeable harm caused by Roundup®.

         157. The Defendants intentionally concealed and/or recklessly failed to

disclose to the public, including the Plaintiff herein, the potentially life-threatening

hazards of Roundup in order to ensure continued and increased sales.

         158. Defendants’ intentional and/or reckless failure to disclose information

deprived the Plaintiff of necessary information to enable Plaintiff to weigh the true

risks of using or being exposed to the subject product against its benefits.

         159. As a direct and proximate result of the Defendants’ conscious and

deliberate disregard for the rights and safety of consumers such as the Plaintiff,

Plaintiff suffered severe and permanent physical injuries. Plaintiff has endured

substantial pain and suffering and have undergone extensive medical and surgical

procedures. Plaintiff has incurred significant expenses for medical care and

treatment, and will continue to incur such expenses in the future. Plaintiff has lost


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past earnings and have suffered a loss of earning capacity. Plaintiff has suffered and

will continue to suffer economic loss, and has otherwise been physically,

emotionally and economically injured.          Plaintiff’s injuries and damages are

permanent and will continue into the future.

      160. The aforesaid conduct of the Defendants was committed with knowing,

conscious, and deliberate disregard for the rights and safety of consumers, including

the Plaintiff herein, thereby entitling the Plaintiff to punitive damages in an amount

appropriate to punish the Defendants and deter them from similar conduct in the

future.

                                    COUNT VII
            VIOLATION OF ALABAMA DECEPTIVE TRADE PRACTICES ACT
                       (ALA CODE 1975 § 8-19-1 ET SEQ.)

      161. Paragraphs 1 through 75 are incorporated herein as if set out in full.

      162. Defendants’ misrepresentations, active concealment, and failure to

disclose the serious health risks of using Roundup® violated the Alabama Deceptive

Trade Practices Act (“ADTPA”) in that the Defendants misrepresented that their

products were of a particular standard, quality, and/or grade when they were of

another (ALA. CODE § 8-19-5(7)).

      163. As previously alleged, Plaintiff purchased and applied a substantial

volume of Roundup® based Defendants’ assertions that Roundup® was safe to use.


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       164. Defendants knew, or should have known, that Roundup® was not safe

to use, and actually posed a serious health risk to ordinary consumers. This should

have been communicated to Plaintiff.

       165. Defendants concealed the serious health risks of using Roundup® from

Plaintiff.

       166. The foregoing acts and omissions of the Defendants were undertaken

negligently, willfully, intentionally, or knowingly as part of their routine business.

       167. Defendants’ misrepresentations and omissions were material to

Plaintiff such that a reasonable person would consider them important in deciding

whether to purchase Defendants’ product and, had Plaintiff known the truth, he

would have acted differently.

       168. The conduct described herein has tremendous potential to be repeated

where other consumers similarly-situated will be treated with the same

unscrupulous, unethical, unfair and deceptive acts and practices.

       169. As a direct and proximate result of the Defendants’ violation of the

ADTPA, Plaintiff suffered damages including, but not limited to physical injury and

severe mental anguish.

       WHEREFORE, the above premises considered, Plaintiff demands judgment

for compensatory, punitive, and treble damages against Defendants in an amount

within the jurisdiction of this Court, plus costs of this action, attorney fees, interest

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and all other relief, including equitable and injunctive, that this Court deems justified

and proper.

                                PRAYER FOR RELIEF

      WHEREFORE, Plaintiff requests that the Court enter judgment in his favor

and against Defendants, awarding as follows:

          A. compensatory damages in an amount to be proven at trial;

          B. punitive damages;

          C. costs including reasonable attorneys’ fees, court costs, and other

              litigation expenses; and

          D. any other relief the Court may deem just and proper.

                                    JURY DEMAND

      Plaintiff demands trial by jury on all issues triable at law.

      Respectfully submitted this, the 16th day of May, 2019.

                                         /s/ Eric J. Artrip
                                         Eric J. Artrip (ASB-9673-I68E)
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DEFENDANTS TO BE SERVED AT THE FOLLOWING ADDRESS:

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(c/o Corporation Service Company, Inc.)
641 South Lawrence Street,
Montgomery, AL 36104

Bayer U.S., LLC.
(c/o Corporation Service Company, Inc.)
641 South Lawrence Street,
Montgomery, AL 36104




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